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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RENETRICE R. PIERRE, individually and               )
on behalf of others similarly situated,             )
                                                    )
                       Plaintiff,                   )       No. 16 C 2895
                                                    )
       v.                                           )       Judge Leinenweber
                                                    )
MIDLAND CREDIT MANAGEMENT, INC.,                    )       Magistrate Valdez
a Kansas corporation,                               )
                                                    )
                       Defendant.                   )

                PLAINTIFF’S MOTION FOR LEAVE TO FILE REPLY
            SUPPORTING SECOND MOTION FOR CLASS CERTIFICATION

       Plaintiff Renetrice R. Pierre (“Plaintiff”), by her attorneys, Markoff Leinberger LLC,

moves this Court for leave to file a reply in support of her second motion for class certification

[DE 31] as follows:

       1.      On December 7, 2016, Plaintiff filed her second motion for class certification

(“Motion”). [DE 31].

       2.      Also on December 7, 2016, this Court ordered Defendant Midland Credit

Management, Inc. (“Defendant”) to respond to the Motion by January 6, 2017 and Plaintiff to reply

by January 13, 2017. [DE 33].

       3.      On January 18, 2017, pursuant to Defendant’s motion for extension, this Court

ordered Defendant to respond to the Motion by February 6, 2017 and Plaintiff to reply by February

13, 2017. [DE 36].

       4.      On January 31, 2017, pursuant to Defendant’s second motion for extension, this

Court ordered Defendant to respond to the Motion by February 16, 2017 but did not set reset

Plaintiff’s reply deadline. [DE 43].
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       5.      On February 28, 2017, this Court granted Defendant’s motion to file a brief in

excess of 15 pages. [DE 49].

       6.      Defendant had previously filed its enlarged response but has not filed a response

since this Court’s grant of leave to do so. Plaintiff is unsure if Defendant intends to file a response

since leave has been granted but now assumes the original response will stand.

       7.      In any event, Defendant filed its response (on February 16, 2017) after the deadline

for Plaintiff’s reply passed (February 13, 2017) pursuant to the original extension Order [DE 36]

and leave to file the response was not granted until February 28, 2017. [DE 49].

       8.      Because a new reply date was not set, Plaintiff now seeks leave to file a reply in

support of her Motion by March 21, 2017, the date currently set for a class certification ruling.

[DE 36].

       WHEREFORE, Plaintiff Renetrice R. Pierre requests that this Court grant her leave to

file a reply in support of her Second Motion for Class Certification by March 21, 2017.

                                                       RENETRICE R. PIERRE, Plaintiff,

                                               By:     /s Paul F. Markoff
                                                       One of Plaintiffs’ Attorneys

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                                CERTIFICATE OF SERVICE

       I certify that I served a copy of this Plaintiff’s Motion for Leave to File Reply Supporting
Second Motion for Class Certification on the following electronically by using the CM/ECF
system on this 8th day of March, 2017:


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                                                           /s Paul F. Markoff




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